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KG, Boehringer Ingelheim International

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Pharmaceuticals, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

BOEHRINGER INGELHEIM PHARMA
GMBH & CO. KG, BOEHRINGER

INGELHEIM INTERNATIONAL GMBH, and_| Civil Action No. 14-7811 (BRM)(TJB)
BOEHRINGER INGELHEIM
PHARMACEUTICALS, INC.,

Plaintiffs, (Filed Electronically)
v.

TEVA PHARMACEUTICALS USA, INC., et
al.,

Defendants.

 

 

CONSENT JUDGMENT AND ORDER OF PERMANENT INJUNCTION

Plaintiffs Boehringer Ingelheim Pharma GmbH & Co. KG, Boehringer Ingelheim
International GmbH, and Boehringer Ingelheim Pharmaceuticals, Inc. (collectively, “Boehringer”)
and Defendant Mylan Pharmaceuticals Inc. (“Mylan”) have agreed to terms and conditions
representing a negotiated settlement of this action and have set forth those terms and conditions in a

Settlement Agreement (the “Settlement Agreement”). Now the parties, by their respective
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undersigned attorneys, hereby stipulate and consent to entry of judgment and injunction in this
action as follows:

IT 18, this 26 day of JANWUC (UY 2018

HEREBY ORDERED, ADJUDGED AND DECREED that:

1. For purposes of this action only, this Court has jurisdiction over the subject matter of
the above action and has personal jurisdiction over the parties.

2. As used in this Consent Judgment and Order of Permanent Injunction, (i) the term
“the ?380 Patent” means U.S. Patent No. 6,087,380, which Mylan agrees is valid and enforceable,
(ii) the term “Generic Dabigatran Products” shall mean any product described in an Abbreviated
New Drug Application (or application under 21 U.S.C. § 355(b)(2)) that references New Drug
Application No. 22-512, including ANDA No. 208067, and (iii) the term “Affiliate” shall mean any
entity controlling, controlled by, or under common control with a Party, but only as long as such
control continues, where “control” means: (1) the ownership of at least fifty percent (50%) of the
equity or beneficial interest of such entity, or the right to vote for or appoint a majority of the board
of directors or other governing body of such entity; or (2) the power to directly or indirectly direct or
cause the direction of the management and policies of such entity by any means whatsoever.

3. Except as may be expressly authorized pursuant to the Settlement Agreement, Mylan,
including any of its successors and assigns, is enjoined from making, having made, using, selling,
offering to sell, importing or distributing Generic Dabigatran Products, on its own part or through
any Affiliate, officer, agent, servant, employee or attorney, or through any person in concert or
coordination with Mylan or its Affiliates, through and until the expiration of the ’380 Patent,
including any patent term extension and/or patent term adjustment, and the period of any pediatric

exclusivity associated with the °380 Patent. If Boehringer becomes entitled to any other regulatory

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exclusivities that are not referenced herein, Boehringer may apply to the Court for modification of
the injunction to incorporate such specified exclusivity.

4. The Parties agree that, in the event of a breach of the Settlement Agreement or
violation of the terms of this Consent Judgment and Order of Permanent Injunction, jurisdiction and
venue for an action to enforce performance under this Consent Judgment and Order and the
Settlement Agreement, including for a preliminary injunction against the breaching conduct, exists
in this District Court, and the Parties hereby waive any and all defenses based on personal
jurisdiction and venue.

5. This Court retains jurisdiction to enforce or supervise performance under this Consent
Judgment and Order of Permanent Injunction and the Settlement Agreement.

6. The Complaint and all remaining claims, counterclaims, or affirmative defenses in the
above action are dismissed without prejudice and without costs, disbursements, or attorney fees to

any party.
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Dated: January 25, 2018

 

IT IS SO STIPULATED:

By: s/ Charles M., Lizza By: s/Armold B. Calmann
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SO ORDERED:

This LU day of January 2018

 

HONORABLE BRIAN R. MARTINOTTI
UNITED STATES DISTRICT JUDGE
